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  1   ANTHONY A. FRIEDMAN (State Bar No. 201955)
      LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
  2   10250 Constellation Boulevard, Suite 1700
  3   Los Angeles, California 90067
      Telephone: (310) 229-1234
  4   Facsimile: (310) 229-1244
      Email: aaf@lnbyb.com
  5
      Attorneys for Alfred H. Siegel, Chapter 7 Trustee
  6

  7
                              UNITED STATES BANKRUPTCY COURT
  8
                               CENTRAL DISTRICT OF CALIFORNIA
  9
                                       LOS ANGELES DIVISION
 10
      In re                                          )    Case No. 2:12-bk-26069-RK
 11
                                                     )
      ALLEN B. SHAY,                                 )    Chapter 7
 12
                                                     )
                                                          NOTICE OF MOTION AND MOTION
 13                                                  )
                                                          FOR    ORDER    DISALLOWING
                            Debtor.                  )
 14                                                       CLAIM NO. 14 FILED BY ALLEN
                                                     )
                                                          SHAY
 15                                                  )
                                                     )
                                                          MEMORANDUM OF POINTS AND
 16                                                  )
                                                          AUTHORITIES
                                                     )
 17                                                  )
                                                          DECLARATION       OF    ALFRED          H.
                                                     )
 18                                                       SIEGEL
                                                     )
 19                                                  )
                                                     )
 20                                                  )    Hearing Date:
                                                     )    Date: April 16, 2019
 21                                                  )    Time: 2:30 p.m.
                                                     )    Place: Courtroom 1675
 22
                                                     )           255 E. Temple Street
 23                                                  )           Los Angeles, California
                                                     )
 24

 25           TO THE HONORABLE ROBERT N. KWAN, UNITED STATES BANKRUPTCY
 26   JUDGE, CLAIMANT AND ALL INTERESTED PARTIES:
 27           PLEASE TAKE NOTICE that a hearing has been scheduled on April 16, 2019 at 2:30
 28   p.m., before the Honorable Robert N. Kwan, United States Bankruptcy Judge, in Courtroom


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  1   1675 of the United States Bankruptcy Court for the Central District of California, Los Angeles

  2   Division, located at 255 E. Temple Street, Los Angeles, California, for the Court to consider the

  3   motion (the “Motion”) filed by Alfred H. Siegel, not individually and solely in his capacity as the

  4   chapter 7 trustee (the “Trustee”) for the bankruptcy estate of Allen Shay (the “Debtor”), for an

  5   order disallowing the proof of claim filed by the Debtor, which claim is denominated on the

  6   Court’s claim registry as Claim No. 14.

  7          PLEASE READ THIS DOCUMENT CAREFULLY TO DETERMINE THE BASIS

  8   FOR THE DEBTOR’S OBJECTION TO YOUR CLAIM. The specific grounds for the

  9   Motion are set forth in detail in the attached Memorandum of Points and Authorities.

 10          PLEASE TAKE FURTHER NOTICE that, pursuant to Local Bankruptcy Rules 3007-

 11   1(b)(3)(A) and 9013-1(f), any response to the Motion must be in writing and filed with the Clerk

 12   of the Bankruptcy Court and served upon the United States Trustee and counsel for the Trustee at

 13   the address set forth in the upper left-hand corner of the first page hereof not later than fourteen

 14   (14) days prior to the scheduled hearing date set forth above.

 15          PLEASE TAKE FURTHER NOTICE that, pursuant to Local Bankruptcy Rule 3007-

 16   1(b)(3)(B), the Court may deem the failure of a party in interest to file a timely response to the

 17   Motion to constitute consent to the granting by the Court of the relief requested by the Debtor in

 18   the Motion without further notice or hearing.

 19   Dated: March 8, 2019                            LEVENE, NEALE, BENDER,
                                                      YOO & BRILL L.L.P.
 20

 21
                                                      By:   /s/ Anthony A. Friedman
 22                                                          ANTHONY A. FRIEDMAN
                                                      Attorneys for Alfred H. Siegel,
 23                                                   Chapter 7 Trustee for the Bankruptcy Estate
                                                      Of Allen B. Shay
 24

 25

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  1                       MEMORANDUM OF POINTS AND AUTHORITIES

  2                                                    I.

  3                                      STATEMENT OF FACTS

  4   A.     Background.

  5         1.       On May 7, 2012 (the “Petition Date”), Allen Shay (the “Debtor”) filed a voluntary

  6   petition under Chapter 7 of the Bankruptcy Code, bearing case number 2:12-bk-26069-RK.

  7   Thereafter, Alfred H. Siegel (the “Trustee”), being duly qualified, was appointed as the Chapter

  8   7 Trustee of the Debtor’s estate. a capacity in which he continues to serve.

  9         2.       In connection with the Trustee’s administration of the Debtor’s estate, the Trustee

 10   sold the real property located 1175 Pine Bluff Drive, Pasadena, California and the adjacent raw

 11   land (collectively, the “Property”) to Ken Huynh and Kristian Luong or their nominee

 12   (“Buyers”). The sale of the Property to Buyers was on an “as is, where is” basis, with no

 13   representations or warranties being made by the Trustee. See, sale order at Docket No. 191

 14   entered.

 15   B.     Proof of Claim.

 16          3.      The deadline in the Debtor’s case for creditors to file pre-petition claims passed

 17   on August 16, 2013 (the “Bar Date”).

 18          4.      After the Bar Date, on March 16, 2017, the Debtor filed a proof of claim, which

 19   claim is denominated on the Court’s claims registry as Claim No. 14 (“Claim No. 14”). Pursuant

 20   to Claim No. 14, and based upon the boxes checked (or not checked) on the proof of claim form,

 21   it appears that the Debtor is asserting a general unsecured claim in the amount of $10,000.

 22   However, the description for the basis of Claim No. 14 provides “plumbing of property while

 23   under trustee’s possession, landscape and maintenance of property under trustee’s possession.” A

 24   true and correct copy of Claim No. 14 is attached as Exhibit 1 to the Declaration of Alfred H.

 25   Siegel annexed hereto and is incorporated herein by reference.

 26          5.      In connection with analyzing the claims filed in the Debtor’s case, the Trustee and

 27   his counsel obtained copies of all available proofs of claim and interest filed in the Debtor’s case

 28   from the Clerk’s Office of the United States Bankruptcy Court for the Central District of


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  1   California – Los Angeles Division. Upon obtaining copies of such proofs of claim and interest,

  2   the Trustee and its professionals analyzed all of the documentation filed by the respective

  3   putative creditors and interest holders in support of the claims, and attempted to reconcile such

  4   filed claims against the Debtor’s books and records. Based on the foregoing, the Trustee has

  5   determined that Claim No. 14 is objectionable for the reasons set forth below.

  6                                                 II.

  7                                         LEGAL STANDARD

  8             Federal Rule of Bankruptcy Procedure 3001(a) provides that a proof of claim is a written

  9   statement setting forth a creditor’s claim.     Federal Rule of Bankruptcy Procedure 3001(f)

 10   provides that a proof of claim executed and filed in accordance with “these rules” shall constitute

 11   prima facie evidence of the validity and amount of the claim. Fed. R. Bankr. P. 3001(f); In re

 12   Southern Cal. Plastics, Inc., 165 F.3d 1243, 1247-48 (9th Cir. 1999); In re Garner, 246 B.R. 617,

 13   620-21 (9th Cir. BAP 2000).

 14             However, Federal Rule of Bankruptcy Procedure 3001(f) “operates merely as an

 15   evidentiary presumption that is rebuttable.” In re Garvida, 347 B.R. 697, 706 (9th Cir. BAP

 16   2006). Once the debtor satisfies its burden of going forward by rebutting the presumption with

 17   counter-evidence, the burden of going forward shifts to the claimant. In re Lundell, 223 F.3d

 18   1035, 1039 (9th Cir. 2000); Garvida, 347 B.R. at 706-708. While the “burden of going forward

 19   is primarily a procedural matter pertaining to the order of presenting evidence”, the substantive

 20   burden of proof remains at all times upon the claimant. Garvida, 347 B.R. at 706; Lundell, 223

 21   F.3d at 1039 (ultimate burden of persuasion remains at all times upon the claimant); So. Cal.

 22   Plastics, 165 F.3d at 1248.

 23             A claimant must establish by a preponderance of the evidence that its claim should be

 24   allowed. Lundell, 223 F.3d at 1039. The objecting party is not required to disprove the claim. In

 25   re Kahn, 114 B.R. 40 (Bankr. S.D. N.Y. 1990). The Bankruptcy Court has the power to “sift”

 26   the circumstances surrounding any claim to see that injustice or unfairness is not done in the

 27   administration of the bankruptcy estate. Pepper vs. Litton, 308 U.S. 295, 304, 60 S.Ct. 238, 244

 28   (1939).


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  1          In In re Circle J. Dairy, Inc., 112 B.R. 297 (W.D. Ark. 1989), the Court held that:

  2                  A claim, to be legally sufficient and, therefore, to be prima facie
                     valid, under the Bankruptcy Rules, must:
  3                      1)     be in writing;
                         2)     make a demand on the debtor’s estate;
  4                      3)     express the intent to hold the debtor liable for the debt;
                         4)     be properly filed; and
  5                      5)     be based upon facts which would allow, as a matter of
                                equity, to have the document accepted as a proof of
  6                             claim.
  7   Id. at 299-300 (citation omitted).
  8                  Under the fifth requirement, the allegations of the proof of claim
                     must set forth all the necessary facts to establish a claim and must
  9                  not be self-contradictory. The prima facie validity of the claim
                     does not attach unless the claim is in compliance with the Federal
 10                  Rules of Bankruptcy Procedure (“Rules”), including Rule 3001,
                     and sets forth the facts necessary to support the claim. These
 11                  requirements for legal sufficiency are consistent with the idea that
                     the proof of claim itself is to be scrutinized with an eye to
 12                  credibility.
 13
      In re Circle J. Dairy, Inc., 112 B.R. at 299-300 (citations omitted).
 14
             Section 503 of the Bankruptcy Code provides in relevant part:
 15

 16          (a) An entity may timely file a request for payment of an administrative expense,
                 or may tardily file such request if permitted by the court for cause.
 17
             (b) After notice and a hearing, there shall be allowed administrative expenses,
 18              other than claims allowed under section 502(f) of this title, including—
 19
             (1) (A) the actual, necessary costs and expenses of preserving the estate.
 20
             11 U.S.C. § 503.
 21
                                                    III.
 22
                                           OBJECTION TO CLAIM
 23
             The Trustee objects to Claim No. 14 for several reasons. Claim No. 14 filed by the
 24
      Debtor is asserted as a general unsecured claim. Notwithstanding, the basis for Claim No. 14,
 25
      appears to be for expenses incurred post petition by the Debtor related to the Property, thus, it is
 26
      unclear if the Debtor is, in fact, seeking an administrative claim. At no point did the Debtor
 27
      obtain Court approval to incur the charges set forth in Claim No. 14, nor did the Debtor obtain
 28
      the consent or authorization from the Trustee to incur the charges set forth in Claim No. 14.


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  1          To the extent that the Debtor is asserting Claim No. 14 as an administrative claim, the

  2   Debtor has failed to comply with Section 503(b) of the Bankruptcy Code. More specifically, the

  3   Debtor has failed to file a request for payment of an administrative claim and has failed provide

  4   notice of such request and have a hearing thereon. Instead, the Debtor simply filed a proof of

  5   claim, which is insufficient to assert an administrative claim against the estate under Section 503

  6   of the Bankruptcy Code.

  7          Further, the expenses incurred by the Debtor related to the Property, however, the Buyers

  8   of the Property purchased the Property on an “as is, where is” basis, with no representations or

  9   warranties. Thus, the worked performed related to the expenses incurred that are the basis for

 10   Claim No. 14 did not need to be made and did not benefit the Debtor’s estate.
 11          Based on all the foregoing, the Trustee believes that Claim No. 14 should not be allowed
 12   as an administrative claim or a general unsecured claim. Alternatively, if the Court believes it is
 13   appropriate, the Trustee is amenable to allowing Claim No. 14 as a late-filed general unsecured
 14   claim that is subordinated to all other filed claims.
 15                                                    IV.
 16                                     RESERVATION OF RIGHTS
 17          The Trustee expressly reserves the right to amend, modify or supplement the Motion and

 18   to assert additional objections to Claim No. 14 or any other proofs of claim (filed or not) that

 19   may be asserted by the Debtor. Should the grounds for disallowance of the claim stated in the

 20   Motion be deemed insufficient, the Trustee reserves his rights to object on any other grounds that

 21   the Trustee discovers during the time that this case is pending.

 22   ///

 23   ///

 24   ///

 25   ///

 26   ///

 27   ///

 28   ///


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  1                                                 V.

  2                                            CONCLUSION

  3          For the reasons set forth above, the Debtor respectfully requests that the Court enter an

  4   order (i) granting the Motion in its entirety; (ii) sustaining the Debtor’s objection to Claim No.

  5   14 and disallowing Claim No. 14 in its entirety; and (iii) granting such other and further relief the

  6   Court deems just and proper.

  7   Dated: March 8, 2019                          LEVENE, NEALE, BENDER,
                                                    YOO & BRILL L.L.P.
  8

  9
                                                    By:   /s/ Anthony A. Friedman
 10                                                        ANTHONY A. FRIEDMAN
                                                    Attorneys for Alfred H. Siegel,
 11                                                 Chapter 7 Trustee for the Bankruptcy Estate
                                                    Of Allen B. Shay
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  1                            DECLARATION OF ALFRED H. SIEGEL

  2          I, ALFRED H. SIEGEL, hereby declare as follows:

  3          1.      I have personal knowledge of the facts set forth below and, if called to testify,

  4   would and could competently testify thereto.

  5          2.      I am the Chapter 7 Trustee of the bankruptcy estate of Allen B. Shay (the

  6   “Debtor”). I make this declaration in support of the Motion to which this declaration is annexed

  7   (the “Motion”) Capitalized defined terms used herein have the same meaning ascribed to them in

  8   the Motion.

  9          3.      On May 7, 2012 (the “Petition Date”), the Debtor filed a voluntary petition under

 10   Chapter 7 of the Bankruptcy Code, bearing case number 2:12-bk-26069-RK. Thereafter, being

 11   duly qualified, I was appointed as the Chapter 7 Trustee of the Debtor’s estate, a capacity in

 12   which I continue to serve.

 13          4.      In connection with my administration of the Debtor’s estate, I sold the real

 14   property located 1175 Pine Bluff Drive, Pasadena, California and the adjacent raw land

 15   (collectively, the “Property”) to Ken Huynh and Kristian Luong or their nominee (“Buyers”).

 16   The sale of the Property to Buyers was on an “as is, where is” basis, with no representations or

 17   warranties being made.

 18          5.      The deadline in the Debtor’s case for creditors to file pre-petition claims passed

 19   on August 16, 2013 (the “Bar Date”).

 20          6.      After the Bar Date on March 16, 2017, the Debtor filed a proof of claim, which

 21   claim is denominated on the Court’s claims registry as Claim No. 14 (“Claim No. 14”). A true

 22   and correct copy of Claim No. 14 is attached hereto as Exhibit 1 and is incorporated herein by

 23   reference.

 24          7.      In connection with analyzing the claims filed in the Debtor’s case, my counsel

 25   and I obtained copies of all available proofs of claim and interest filed in the Debtor’s case from

 26   the Clerk’s Office of the United States Bankruptcy Court for the Central District of California –

 27   Los Angeles Division. Upon obtaining copies of such proofs of claim and interest, my

 28   professionals and I analyzed all of the documentation filed by the respective putative creditors


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                           EXHIBIT 1
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  1                                 PROOF OF SERVICE OF DOCUMENT
  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067.
  3
      A true and correct copy of the foregoing document entitled NOTICE OF MOTION AND MOTION FOR
  4   ORDER DISALLOWING CLAIM NO. 14 FILED BY ALLEN SHAY; MEMORANDUM OF POINTS AND
      AUTHORITIES; DECLARATION OF ALFRED H. SIEGEL will be served or was served (a) on the judge
  5   in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

  6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  7   hyperlink to the document. On March 8, 2019, I checked the CM/ECF docket for this bankruptcy case or
      adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
      receive NEF transmission at the email addresses stated below:
  8
          •     Marvin B Adviento madviento@wrightlegal.net,
  9             ggrant@wrightlegal.net;sbennett@wrightlegal.net
          •     Lawrence R Boivin lboivin@boivinlaw.com, lrboivin@gmail.com
 10       •     Patrick K Bruso bruso005@umn.edu
          •     Joseph C Delmotte ecfcacb@aldridgepite.com,
 11             JCD@ecf.inforuptcy.com;jdelmotte@aldridgepite.com
          •     Mark D Estle mdestle@estlelaw.com
 12       •     Anthony A Friedman aaf@lnbyb.com
          •     Philip J Giles pgiles@allenbarneslaw.com, mvasquez@allenbarneslaw.com
 13       •     Merdaud Jafarnia bknotice@mccarthyholthus.com, mjafarnia@ecf.inforuptcy.com
          •     Ezedrick S Johnson PASADENALAWCENTER@SBCGLOBAL.NET,
 14             ESJOHNSON@SBCGLOBAL.NET
          •     Nate Kraut ngkraut@sbcglobal.net, ngkraut@hotmail.com
 15       •     Ron Maroko ron.maroko@usdoj.gov
          •     Marisol A Nagata cdcaecf@bdfgroup.com
 16
          •     Christina J O christinao@mclaw.org,
                CACD_ECF@mclaw.org;mcecfnotices@ecf.courtdrive.com
 17       •     Alfred H Siegel (TR) Al.siegel@asiegelandassoc.com,
                Lisa.irving@asiegelandassoc.com;Margo.tzeng@asiegelandassoc.com;asiegel@ecf.epiqsystem
 18             s.com
          •     Andrew Edward Smyth office@smythlo.com
 19       •     William J Smyth office@smythlo.com, williamsmyth@gmail.com
          •     United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
 20       •     Darlene C Vigil cdcaecf@bdfgroup.com
          •     Diane C Weil dcweil@dcweillaw.com,
 21             diane.c.weil@Gmail.com,dweil@ecf.inforuptcy.com,cblair@dcweillaw.com
          •     W. Sloan Youkstetter SYoukstetter@FoxLaw.com
 22
      2. SERVED BY UNITED STATES MAIL: On March 8, 2019, I served the following persons and/or
 23   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
      and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
 24   addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
 25
      Allen B. Shay                                                      RSN
 26   202 S Lake Ave, Ste 260                                            Chase Home Finance Milwaukee
      Pasadena, CA 91101                                                 Attn: Correspondence Mail
 27                                                                      Mail Code LA4-5555
                                                                         700 Kansas Lane
 28                                                                      Monroe, LA 71203


       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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  1   RSN                                                                The Honorable Robert Kwan
      McCarthy & Holthus, LLP                                            United States Bankruptcy Court
  2   1770 Fourth Avenue                                                 255 E. Temple Street, Suite 1682
      San Diego, CA 92101                                                Los Angeles, CA 90012
  3
                                                                              Service information continued on attached page
  4
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
  5   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
      on March 8, 2019, I served the following persons and/or entities by personal delivery, overnight mail
  6   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
  7   mail to, the judge will be completed no later than 24 hours after the document is filed.

  8   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
      true and correct.
  9
       March 8, 2019                           Lisa Masse                                /s/ Lisa Masse
 10    Date                                    Type Name                                 Signature

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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
